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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JOHN DOE,
Plaintiff, .
v. : CIVIL ACTION NO: 18-cv-2044
SAINT JOSEPH'S UNIVERSITY
And
JANE ROE
Defendants.

 

ORDER

AND NOW, this day of , 2018, upon consideration of Plaintiff‘s Motion for
Summary Judgrnent on the Counterclaim of Defendant Saint Joseph’s University and any
response thereto, it is hereby ORDERED and DECREED that Plaintifi’ s Motion is GRANTED.
The Counterclaim set forth in Saint Joseph’s Answer to Plaintiff’ s Complaint is DISMISSED
With prejudice

BY THE COURT:

 

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SAINT JOSEPH'S UNIVERSITY

 

 

And
JANE ROE
Defendants.
PLAINTIFF'S MOTION FOR SUMMARY JUDGM ENT
l. Plaintiff s claims against Defendant Saint Joseph’s University (“SJU”) arise out

of its gender-biased investigation and adjudication of sexual assault charges made by Defendant
Jane Roe (“Roe”) against Plaintiff John Doe’s (“Doe”). Plaintiff sued SJU on multiple grounds,
including violating Plaintiff s rights under Title IX of the Education Act Amendment of 1972, 20
U.S.C. §1682 et seq. SJU filed a Counterclaim against Plaintiff seeking Attorney’s Fees Pursuant
to 42 U.S.C. l988(b).

2. SJU claims that it is entitled to attomey’s fees because Plaintiff’s claims “are
frivolous, Without foundation and lack any objectionable reasonable basis.” It Speciflcally
asserts that “plaintiff’s complaint contains frivolous and unreasonable allegations that SJU
intentionally Withheld information from plaintiff during its investigation in an attempt to
embarrass, humiliate and otherwise punish him” and that Plaintiff “knows these allegations are

unfounded.”

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3. The undisputed facts of this case plainly lay out three truths: First, that Plaintiff
has never alleged SJU acted “in an attempt to embarrass, humiliate and otherwise punish him.”
To the contrary, Plaintiff s Complaint consistently alleges that SJU’s conduct - which certainly
caused Plaintiff, embarrassment and humiliation - was motivated by gender bias. Hence the
Title lX claim. Second, the testimony establishes that SJU absolutely did withhold important
and relevant (and exculpatory) information from Doe. lt withheld the actual claims against him.
lt withheld text messages. lt withheld photo graphs. lt withheld Roe’s disciplinary record. lt
withheld information about its own policies and procedures. Far from being “frivolous, without
foundation and lack[ing] and objectionable [sic] basis,” SJU’s own employees establish that
Doe’s assertions that SJU withheld this information is true. And, third, the evidence shows that
SJU withheld this information knowingly and deliberately lt was their policy. lt was their
practice. And it was never disclosed to their students. Plaintiff incorporates by reference his
brief and exhibits thereto in support of his Motion for Summary Judgement and the averments
set forth therein as if the same were set forth herein at length.
WHEREFORE, Plaintiff John Doe respectfully asks the Court to dismiss SJU’s
Counterclaim on the grounds that there are not genuine issues of material fact and that Plaintiff is
entitled to judgment as a matter of law pursuant to Federal Rule of Civil Procedure 5 6.
Respectfully submitted,

Dated: September 24, 2018 BY: /s/John Mirabe£la
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